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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


Aaron Wildenborg,                              Civil File No.: 16-CV-03610 (DWF/LIB)

             Plaintiff,
                                                 STIPULATION FOR DISMISSAL
vs.                                                   WITH PREJUDICE

Saint John’s University and the College of
Saint Benedict,

             Defendants.


      IT IS HEREBY STIPULATED AND AGREED by and between the parties

hereto, by their respective undersigned attorneys, that Plaintiff’s claims and Complaint

against Defendants may be, and hereby are dismissed on the merits with prejudice,

without costs or disbursements to any party, and that a judgment of dismissal with

prejudice may be entered in the above-entitled action pursuant hereto.

      It is further stipulated and agreed that an appropriate Order for Judgment with

Prejudice may be entered by the Court.

                                         SCHOOL LAW CENTER, LLC

Dated: February 20, 2018                 By: s/ Andrea Jepsen
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                                         Attorneys for Plaintiff
     CASE 0:16-cv-03610-DWF-LIB Document 48 Filed 02/20/18 Page 2 of 2



                                  BASSFORD REMELE
                                  A Professional Association

Dated: February 20, 2018          By: s/ Jonathan P. Norrie
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